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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

MARIO E. VELIZ,                                               )
                                                              )
       Plaintiff,                                             )
v.                                                            )      CIVIL ACTION
                                                              )      NO.
KIRSTJEN M. NIELSON, SECRETARY                                )
DEPARTMENT OF HOMELAND SECURITY,                              )
                                                              )
       Defendant.                                             )

                                        COMPLAINT
Introduction

1.     This is a complaint for damages, declaratory and injunctive relief authorized and instituted

pursuant to Title VII of the Civil Rights Act of 1964, as amended by the Civil Rights Act of 1991, 42

U.S.C. 2000e et seq. (“Title VII”).

2.     This lawsuit is brought to prevent Defendant, KIRSTJEN M. NIELSON, DEPARTMENT

OF HOMELAND SECURITY, pursuant to Title VII of the Civil Rights Act of 1964, as amended by

the Civil Rights Act of 1991, 42 U.S.C. 2000e, et seq. (“Title VII”), from maintaining a policy,

practice, custom or usage of discriminating against, Plaintiff, MARIO E. VELIZ, in regard to terms,

conditions and privileges of employment, and for damages, and other equitable relief for Plaintiff,

MARIO E. VELIZ, who has been discriminated against by Defendant on the basis of reprisal (prior

EEO Activity).

Jury Demand

3.     A jury is hereby demanded.

Jurisdiction and Venue

4.     This action is brought for a declaratory judgment, injunctive relief and compensatory



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damages, pursuant to 42 U.S.C. Section 1983, 20 U.S.C. Sections 1681-1688, 28 U.S.C. Sections

2201 and 2202. This Court has jurisdiction to hear the Plaintiff's claims pursuant to 28 U.S.C.

Sections 1331, 1343(3) and (4) 1337 and 42 U.S.C. 2000e-5(f) [Section 706(f)(s) and (3) and 704(a)

of Title VII].

5.        Venue is proper in the Western District of Texas, El Paso Division pursuant to 28 U.S.C.

Section 1391(b) as El Paso County, Texas is the county where the Defendant operates the

KIRSTJEN M. NIELSON, DEPARTMENT OF HOMELAND SECURITY, Plaintiff’s employer.

Further, all actions complained of herein occurred within the El Paso County, Texas.

Parties

6.        MARIO E. VELIZ is a male citizen of the United States and a resident of the City of El

Paso, El Paso County, Texas.

7.        Plaintiff is employed by the Defendant, KIRSTJEN M. NIELSON, DEPARTMENT OF

HOMELAND SECURITY. The Defendant maintains and administers records relevant to its

employment practices. Service of process may be made upon the United States Attorney for the

Western District of Texas, and the United States Attorney General, Department of HOMELAND

SECURITY, by registered or certified mail, pursuant to the Federal Rules of Civil Procedure (Rules

4(I)(1)(A), (B) & (C)).

8.        Defendant is an employer within the meaning of 42 U.S.C. 2000e, et seq., (“Title VII”).

Exhaustion of Remedies

9.        Plaintiff filed a formal complaint of discrimination. Such filing was within at least 45 days

of the last act of which he complained. Plaintiff’s formal complaint alleged denial of Plaintiff’s

rights, by Defendant, under Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e, et seq., as

amended by the Civil Rights Act of 1991. Specifically, MARIO E. VELIZ alleges that he was


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discriminated against because of retaliation (prior EEO Activity).

10.     All conditions precedent to the filing of the lawsuit has been met.

Factual Allegations

11.     Complainant was an Immigration Enforcement Agent and now is a Deportation Officer, GS-

1801-09 at the El Paso, Texas Processing Center, at the time of discrimination. Complainant began

his Federal career at the El Paso Processing Center in August 1997.

12.     Complainant has been subjected to a hostile work environment by his first line supervisor

Caesar Mejia, Supervisory Immigration Enforcement Agent, in retaliation for his EEO activity. As a

result, Complainant filed an EEO complainant against Mr. Mejia in 2010.

13.     More specifically, Complainant was discriminated against based on retaliation/reprisal (prior

EEO activity) when on July 11, 2014 and July 14, 2014, Supervisory Immigration Enforcement

Agent (SIEA) excluded him from a shift meeting, and increased his workload without providing

additional staff to assist him.

14.     Complainant was further discriminated against based on retaliation/reprisal (prior EEO

activity) when on July 17, 2014, after hearing a comment about him from a Deportation Officer, the

SIEA stated to other employees, “Don’t worry I retaliate”.

15.     Complainant was again further discriminated against based on retaliation/reprisal (prior EEO

activity) when on July 21, 2014 and July 22, 2014, he was unfairly assigned the same post back-to-

back on consecutive days.

                                        COUNT ONE
                                   REPRISAL/RETALIATION

16.     The Plaintiff, MARIO E. VELIZ realleges paragraphs 1 - 15 as if fully set forth herein.

17.     Defendant retaliated against Plaintiff, MARIO E. VELIZ herein since it engaged in reprisal




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and retaliation in violation of the Title VII. Specifically, Plaintiff, MARIO E. VELIZ suffered

adverse employment consequences as a direct result of his participation or assistance in an EEOC

process. As a direct and proximate result of these actions, Plaintiff, MARIO E. VELIZ suffered

retaliation and reprisal.

                                       COUNT TWO
                               HOSTILE WORK ENVIRONMENT

18.     Plaintiff realleges paragraphs 1-17 as if fully set forth herein.

19.     The actions of Defendant, constituted a hostile work environment against Plaintiff, in the

creation and condonation of a hostile work atmosphere which changed the terms and conditions of

his employment.

20.     The unlawful employment practices in violation of the Civil Rights Act herein complained

of, occurred in the course of Plaintiff’s employment with Defendant, were carried on by Defendant’s

agents, servants, and employees and because the Agency threatened him with possible disciplinary

action for filing EEOC complainant and made the work environment one that a reasonable person

could not endure without injury.

21.     Defendant discriminated and retaliated against Plaintiff herein as a male with respect to the

terms, conditions, privileges, advantages and benefits of his employment with Defendant.

Specifically, Plaintiff was harassed, held to stricter standards of performance, and denied benefits of

employment accorded other employees.

22.     In addition, Plaintiff was treated dissimilarly from other employees.

23.     By reason of the Defendant's actions, Plaintiff, MARIO E. VELIZ found it necessary to

retain the services of an attorney in these proceedings and heretofore and is therefore entitled to

attorney's fees pursuant to the Title VII, and under the general equity Powers of the Court.




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       WHEREFORE, Plaintiff respectfully requests:

       a.      A declaratory judgment, declaring Defendant’s acts, through the acts of its agents,

employees and successors, herein complained of to be in violation of Title VII of the Civil Rights

Act of 1964, as amended by the Civil Rights Act of 1991.

       b.      Compensatory damages against the Defendant for each violation of Plaintiff's rights,

as protected by Title VII and, for his pain, suffering, emotional distress, humiliation and for any

resulting physical and emotional damages, in the amount of $300,000.00;

       c.      Attorney's fees, court costs, prejudgment and post judgment interest as provided by

law including Title VII; and

       d.      Such other and further relief to which Plaintiff may be entitled.



                                             Respectfully submitted,

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